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                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF FLORIDA
                              CIVIL DIVISION

  _________________________________________

  JEANETTE and KENNETH VAUGHAN,

               Plaintiffs.
                                                               Case No.
  v.

  DIAMONDS INTERNATIONAL LLC;
  ALMOD DIAMONDS LTD; ROYAL
  CARIBBEAN CRUISES LTD; and
  ROYAL MEDIA PARTNERS LLC.

              Defendants.
  _________________________________________

                  COMPLAINT AND DEMAND FOR JURY TRIAL

        Jeanette Vaughan (“Jeanette”) and Kenneth Vaughan (“Kenneth”) (collectively

  “Plaintiffs” or the “Vaughans”), through their undersigned counsel, file this

  Complaint    against       Defendants   Diamonds    International    LLC    (“Diamonds

  International”), Almod Diamonds Ltd. (“Almod Diamonds”), Royal Caribbean Cruises

  Ltd. (“Royal Caribbean”), and Royal Media Partners LLC (“Royal Media”),

  (collectively “Defendants”). Based on information and belief, Plaintiffs state as follows

  to the Court and Jury for their causes of action against Defendants:

                                          PARTIES

        1.     Jeanette Vaughan and Kenneth Vaughan are natural persons who are

  citizens and domiciles of Lithonia, Georgia, with a permanent home address at 1583

  Rogers Crossing Drive, Lithonia, GA 30058.




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         2.     Diamonds International is a New York limited liability company formed

  pursuant to New York Limited Liability Company Law § 203. According to Diamonds

  International’s LinkedIn profile, the company’s principal place of business is located

  at 12 East 49th Street, 39th Floor, New York, New York 10017;1 and, according to its

  website, it operates more than one hundred twenty stores across the United States,

  specifically, in Alaska, Florida, as well over one hundred locations throughout the

  Caribbean. Thus, Diamonds International is a resident and domicile of New York.

         3.     Almod Diamonds2 is a New York business corporation formed pursuant

  to New York Business Corporation Law § 402. According to the New York State

  Secretary of State, Almod Diamonds’ principal place of business is 12 East 49th Street,

  39th Floor, New York, New York, 10017;3 and, according to the company’s unique

  website, Almod Diamonds manufacturers, produces, and sells diamonds and other

  jewelry throughout the United States and Caribbean. Thus, Almod Diamonds is a

  resident and domicile of New York.

         4.     Royal Caribbean Cruises Ltd. d/b/a “Royal Caribbean International”

  (“Royal Caribbean”), a Liberian Company, with a principal place of business at 1050



         1      Oddly, Diamonds International does not have principal place on file with the
  Secretary of State. Alarmingly, the retailer is associated with several addresses across
  Manhattan despite the Bronx being on file with the Secretary of State. For instance, the
  Better Business Bureau lists 1290 Avenue of the Americas, 32ndFloor New York, NY 10104,
  while Google and Dun & Bradstreet list 100 Park Avenue New York, NY 10017.

         2    According to the Secretary of State’s website, since August 12, 2012, Almond
  Diamonds has used the assumed business name DI Finance Service.

         3       However, according to Almod Diamond’s profile on the De Beers Group
  website, the company’s “Head Office” is located at 592 Fifth Avenue, 9th Floor, New York, NY
  10036, and it lists Diamonds International’s website as its own.


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  Caribbean Way, Miami, FL 31132, markets and sells cruises to person throughout

  the United States, including New York. Thus, Royal Caribbean is a resident and

  domicile of both Liberia and Florida.

        5.     Royal Media Partners LLC (“Royal Media), a Florida limited liability

  company, with a principal place business at 960 Alton Road, Miami Beach, Florida

  33139, employs Port Shopping Guides to give Port Shopping Talks and specialty

  seminars to cruise passengers aboard the cruise ship of several cruise lines, including

  Royal Caribbean Cruises Ltd. Thus, Royal Media is a resident and domicile of Florida.

                              JURISDICTION & VENUE

        6.     The Court has personal jurisdiction over Diamonds International

  because it has purposefully availed itself of the privilege of conducting business

  within Florida through Diamonds International retail stores located in Key West and

  Orlando. According to the New York Secretary of State, Diamonds International’s

  registered agent – for service of purpose – is Gary Wirth, Altier, Kushner, Miuccio,

  and Frind, P.C., 60 East 42nd Street, New York, New York 10165.

        7.     The Court has personal jurisdiction over Almod Diamonds because it

  has purposefully availed itself of the privilege of conducting business within Florida

  through its subsidiary’s retail stores located in Key West and Orlando. According to

  the New York Secretary of State, Almod Diamonds’ registered agent – for service of

  process – is Corporation Service Company, 80 State Street, Albany, New York 12207.

        8.     The Court has personal jurisdiction over Royal Caribbean because Royal

  Caribbean is a resident and domicile of Florida. According to the Florida Secretary of




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  State, Royal Caribbean’s registered agent – for service of process – is CT Corporation

  System, 1200 South Pine Island Road, Plantation, Florida 33324.

        9.      The Court has personal jurisdiction over Royal Media because Royal

  Media is a resident and domicile of Florida. According to the Florida Secretary of

  State, Royal Media’s registered agent – for service of process – is Sylvia Berkshire,

  960 Alton Road, Miami Beach, Florida 33139.

        10.     The Court has subject-matter jurisdiction over this action pursuant to

  28 U.S.C. § 1332 because the Plaintiffs Jeanette Vaughan and Kenneth Vaughan and

  Defendants Diamonds International, Royal Media, and Royal Caribbean are

  completely diverse parties, and the amount in controversy exceeds $75,000, exclusive

  of interest and costs.

        11.     Venue is proper in the Southern District of Florida, pursuant to 28

  U.S.C. § 1391(b)(1), 28 U.S.C. § 1391(c)(2), and 28 U.S.C. § 1391(d).

                             STATEMENT OF THE CASE

   I. Collusion Among Defendants to Defraud the Plaintiffs

              A. Diamonds International

        12.     Diamonds International – the largest jewelry retailer in the Caribbean

  with more than 125 retail locations – sells grossly overpriced jewelry to port-city

  tourists using intense deceptive, unfair, and unethical business practices, including

  misleading customers and outright fraud.




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        13.    Diamonds International’s stores are located almost exclusively at port

  cities, such as Nassau, Grand Turk, Playa Del Carmen, Cozumel, among others, so

  the retailer heavily relies on cruise ship passengers for many of its sales.

        14.    Diamonds International’s business model relies on a steady stream of

  one-off transactions with unsuspecting cruise ship passengers who: (1) are on

  vacation; (2) are not familiar with Diamond International’s reputation for misleading

  and cheating customers; and (3) have been primed to buy from Diamonds

  International by the cruise line and/or its associates.

        15.    Diamonds International – headquartered in New York – has a large

  percentage of customers, like Kenneth and Jeanette Vaughan, who are American

  cruise ship passengers.

        16.    Diamonds International, from its New York headquarters, administers,

  controls, directs, and manages the company’s operations and activities, as well as

  implements the policies of its retail stores.

        17.    Diamonds International – through its founders Morris Gad, Albert Gad,

  Donna Gad, Abe Tarapani, and Wendy Tarapani from its New York headquarters –

  “oversee[s] every aspect of [Diamonds International’s] daily operations,” including

  directing discrete overseas transactions, directing sales strategy, and authorizing the

  terms and financing offered to customers for specific jewelry purchases.

        18.    Diamonds International’s business model, and sales strategy, has

  resulted in numerous online complaints, negative reviews, and warnings on many

  reputable consumer websites, such as the Better Business Bureau and Trip Advisor.




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  Specifically, the Better Business Bureau reports that customers complain that

  Diamonds International sells “flawed or inferior merchandise” that is grossly

  overpriced, and “that the jewelry that they bought from Diamonds International is

  defective.” “Several consumers claim that the results of an independent appraisal

  from local gemologist for the jewelry they purchased from the company is much lower

  than what they were told at the time of purchase. In some cases, the difference in the

  independent appraisal is reportedly several thousands of dollars less than what was

  paid for the Diamonds International merchandise.”4

              B. Royal Caribbean

        19.      Royal Caribbean, based in Miami, Florida, is the largest cruise line by

  revenue, second largest cruise line by passengers count, and operates twenty-six

  cruise ships, five of which are the largest passenger ships in the world. Royal

  Caribbean offers cruises of different classes, different lengths, and different

  destinations

        20.      A typical week-long Royal Caribbean cruise offers its passengers several

  day-long stops at port cities along the way and various on-board amenities/activities

  for passengers while the cruise ship is traveling between ports.

        21.      Royal Caribbean’s financial success depends largely on the amount of

  revenue Royal Caribbean can derives from its passengers after they board the ship,

  either directly or by selling third-party vendors access to their passengers. Diamonds

  International is one such third-party vendor.


        4 https://www.bbb.org/us/ny/new-york/profile/jewelry-stores/diamonds-international-
  0121-7969.


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              C. Royal Media

        22.     Royal Media is the exclusive onboard media partner of Royal Caribbean

  that provides customized Port Shopping services for ships in the Royal Caribbean

  fleet sailing in the Caribbean, Mexico, Alaska, the Bahamas, and Europe.

        23.     In order to provide passengers with a customized shopping experience,

  Royal Caribbean either provides a hard copy or encourages passengers to download

  a mobile phone application of a Royal Media-created shopping magazine called

  “Portfolio – The Official Port & Shopping Guide of Royal Caribbean” (the “Guide”) as

  well use Royal Media employed Port Shopping Guides (“Shopping Guides”), who live

  and work aboard Royal Caribbean’s cruise ships, to “provide cruise passengers with

  information about the exciting shopping opportunities that await in each port of call.”

        24.     “Shopping Guides” serve as Royal Media’s ambassadors and points of

  contact for Royal Caribbean as well as all Royal Media’s merchant partner stores,

  such as Diamonds International. Essentially, Royal Media, Royal Caribbean, and

  their merchant partner Diamonds International work in tandem where Royal

  Caribbean encourages passengers to meet Royal Media Port Shopping Guides and

  attend Port Shopping Talks and “Diamonds and Gemstone Seminars” that promote

  their merchant partners.

        25.     Royal Media “Shopping Guides” gain the passengers’ trust by holding

  themselves out as “experts” – “an excellent resources for information and insider tips”

  – who provide a service or benefit to help passengers find the best shopping deals at




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  port stops. “Shopping Guides” demonstrate their expertise by hosting Port Shopping

  Talks and “Diamond and Gemstones Seminars.”

        26.    “Shopping Guides” lure passengers to the Port Shopping Talks and

  “Diamond and Gemstone Seminars” by offering “VIP Cards,” “Treasure Packs,” and

  generous discounts cards up to 75% off – all intended to convince passengers that

  they will receive “elevated service at select stores” that include Diamonds

  International.

        27.    Royal Media incentivizes “Shopping Guides” to push passengers to their

  merchant partners – oftentimes suggesting a specific salesperson – in order to enjoy

  “lucrative earning[s] . . . and performance-based bonuses”; motivating “Shopping

  Guides” to even physically escort passengers to Diamonds International stores the

  morning following the “Diamonds and Gemstone Seminar.”

   II. The Value and Quality of the Diamond Jewelry

        28.    Royal Media and Royal Caribbean market the Port Shopping Talks and

  “Diamond and Gemstone Seminars” as educational seminars where unsophisticated

  passengers are taught the characteristics to consider when shopping for diamonds so

  that they purchase the best quality diamonds at the best value.

        29.    Royal Caribbean and Royal Media use the Guide to mislead passengers

  with false promises on the value, quality, and discounts they will receive on designer

  jewelry and brand name watches; suggesting that passengers can purchase luxury

  jewelry, such as diamond pendant necklaces, “at prices up to fifty percent less that

  what [they will] pay for the same items on the U.S. mainland.”




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        30.    A diamond’s value is determined by the quality of the “4Cs” (in no

  particular order) – clarity, color, carat weight, and cut – that is graded by a reputable

  diamond laboratory, such as GIA and AGS.

        31.    Clarity measures a diamonds imperfections based on visible blemishes,

  which are external flaws such as chips and scratches, and inclusions, which are

  internal flaws such as crystals and feathers. According to the Gemological Institute

  of America, “evaluating diamond clarity involves determining the number, size, relief,

  nature, and position of these characteristics, as well as how these affect the overall

  appearance of the stone.” Diamonds are graded: flawless (FL), very very slightly

  included (VVS), very slightly included (VS), slightly included (SI), or included (I).




        32.    Color “measures the degree of colorlessness by comparing a stone under

  controlled lighting and precise viewing conditions to master-stones of established

  color value.” An untrained eye is unlikely to recognize the subtle differences between

  colors.” A diamond is either colorless, near colorless, faint, very light, or light; and

  are graded on a D to Z scale, where a grade D is “colorless” and a grade Z is “light.”

  Most diamonds at retail jewelry stores range from “colorless” to “near colorless.”



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         33.    A common misperception is that “cut” refer to a diamond’s shape (round,

   pear, cushion, marquí, etc.). Rather, “cut” refers to the way a diamond’s facets

   interact with light, which many people associate with a diamond’s brilliance.

   Brilliance is measured in terms of: brightness, which refers to “internal and external

   white light reflected from a diamond”; fire, which refers to “the scattering of white

   light into all the colors of the rainbow”: and scintillation, which refers to “the amount

   of sparkle a diamond produces, and the pattern of light and dark areas caused by

   reflections within the diamond.” The more brilliant the diamond the better the

   quality.

         34.    Carat is the measurement of a diamond’s weight. One carat equals 200

   milligrams and measured to the hundredth decimal point. A diamond’s price

   increases with diamond carat; however, diamonds of equal carat weight can have

   different values because value is determined by considering all 4cs.


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         35.     Generally, diamond purchases are accompanied by a certificate from one

   of the industry’s leading gemological laboratories, such as Gemological Institute of

   America (GIA) and American Gem Society (AGS) which are considered the industry

   “gold standard.” Less reputable laboratories include the European Gemological

   Laboratory (EGL) and International Gemological Institute (IGI) whose grades for

   clarity and color are typically off by 2-4 grades when compared to GIA and AGS

   graded diamonds.

         36.     In addition to EGL, Diamonds International uses a younger EGL-owned

   laboratory named Gemology Headquarters International (GHI), established in 2015

   after accusations of over-grading, to certify its diamonds, including the “branded,

   patented, and proprietary” Crown of Light diamond that is exclusively sold by

   Diamonds International.

         37.     According to a May 2016 edition of Jewelry Insurance Issues, “the 90-

   facet cut is promoted as an improvement over the popular round brilliant diamond,

   with its 57 or 58 facets.” And, according to Diamonds International, the Crown of

   Light cut produces “a spectacular diamond that disperses more light in more

   directions…with more fire than diamonds have ever achieved.” However, gemologists

   agree that, “more facets do not equal more fire or scintillation.” “Physics and optics

   have shown that a round brilliant diamond displays the most sparkle when cut to the

   proportions shown in this diagram, and this has been recognized by gemologists for

   some time.”




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         38.   Diamonds International’s tagline describing the Crown of Light

   diamond as “branded, patented, and proprietary” is misleading because Diamonds

   International is neither the inventor nor assignee of Crown of Light registered U.S.

   patent (No. US 6,761,044 B2; filed on April 11, 2002). The U.S. patent identifies

   Stuart Samuels as the inventor of the gemstone cut, and his company Premier Gem

   Corp. as the assignee. The tagline coupled with the fact that Diamonds International

   is the exclusively retailer of the Crown of Light diamond misleads consumer into

   believing that Diamonds International is the inventor of the Crown of Light gemstone

   cut. Even more so when the company describes itself as an innovator in the diamond

   industry.

         39.   Unsuspecting passengers fall prey to a sophisticated marketing scheme

   facilitated by Royal Caribbean and Royal Media where passengers are promised

   generous discounts to encourage them to patronize Diamonds International stores to



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   purchase the exclusive “branded, patented, and proprietary” Crown of Light diamond,

   only for Diamonds International to disregard those discounts and upcharge them

   instead.

         40.    Diamonds International convinces passengers that the Crown of Light

   diamond is worth more than its actual value when compared to diamonds of similar

   clarity, color, and carat weight. Diamonds International confidently encourages

   customers, upon returning home, to take their purchase, along with the Statement of

   Value,5 to an “independent appraiser” who is trained in assessing the value of the

   Crown of Light diamond.

         41.    Crown of Light diamonds are often appraised at a lower value and lower

   quality after a post-purchase appraisal once passengers arrive home. According to

   one trained “independent appraiser,” persons authorized to appraise the Crown of

   Light diamond are required to contact Diamonds International for information when

   appraising the Crown of Light diamond, and that Diamonds International usually

   provides a valuation that mirrors the price paid by the customer, rendering the

   appraisal anything but independent. Yet, Diamonds International will only accept, as

   valid, appraisals by persons who follow this procedure; often, leaving customers

   without a legitimate independent appraisal.




         5 The Statements of Value, which are not received until several months after the
   purchases, are misleading, and the name is a misnomer, because the Statement does not
   accurately reflect the actual value of the item discussed in the Statement. Instead, the
   Statement reflects the purchase price of the item.


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      III.     The Vaughans’ Trip Aboard “Symphony of the Seas”

               A. The Diamond and Gemstone Seminars

         42.     On November 30, 2019, Jeanette and Kenneth Vaughan set sail on a

   seven (7) day Royal Caribbean “Symphony of the Seas” cruise that made stops at

   several international ports, that included St. Thomas and St. Maarten.

         43.     Jeanette, a retired military officer, and Kenneth, a retired logistics

   specialist, were frequent cruise passengers who often enjoyed the plethora of events

   and activities offered on board as the ship sailed between ports.

         44.     Jeanette and Kenneth just so happened to be in the market for new

   jewelry, however, the couple lacked experience, knowledge, and sophistication when

   it came to the diamond market, and, ultimately, in diamond purchases.

         45.     Jeanette and Kenneth understood that their inexperience and lack of

   sophistication would be a hindrance when purchasing diamonds – especially, the

   “branded, patented, and proprietary” Crown of Light diamond – so the couple

   appreciated that they would benefit from attending two Diamond and Gemstone

   Seminars led by a Royal Media Shopping Guide who held himself out as an “expert,”

   “an excellent resources for information and insider tips,” and who promised generous

   discounts toward the purchase of jewelry from the Crown of Light diamond collection

   that is sold exclusively at Diamonds International retail stores.

         46.     On the morning of December 1, 2019, Jeanette and Kenneth attended

   the first of two Diamond and Gemstone Seminars that featured hundreds of cruise

   passengers in a large auditorium where a Shopping Guide introduced several lines of




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   jewelry – one of which was the Crown of Light diamond collection. The second

   “breakout session,” which occurred later that afternoon in a smaller setting of roughly

   twenty-five (25) cruise passengers, provided the Shopping Guide with the intimacy

   and opportunity to manipulate cruise passengers – apropos, future Diamonds

   International customers – into believing that he had their best interests in mind;

   rather, than Diamonds International’s profits and his bonuses and commissions in

   mind. The “breakout” room featured a display case filled with jewelry under lighting

   contrived and manipulated to artificially enhance the Crown of Light diamond’s

   brilliance.

          47.     When Jeanette and Kenneth arrived at the breakout session, they each

   were handed a card on which they would takes notes on the 4Cs that should have

   presumably proven useful when they made their future purchases the next day at the

   Diamond International’s St. Maarten retail store. The couple took copious notes as

   they listened to the Shopping Guide marvel, rave, and, eventually, convince them of

   the Crown of Light diamond’s exclusivity, quality, and value.

          48.     During the Diamond and Gemstone Seminar, the Shopping Guide made

   numerous material misrepresentations:

                (a) The Shopping Guide misled Jeanette and Kenneth, as well as

          other cruise passengers, into thinking that the Shopping Guide was a

          Royal Caribbean employee offered by the cruise line for the cruise

          passengers’ benefit by “provid[ing] cruise passengers with information

          about the exciting shopping opportunities that await [them] in each port




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        of call.” At no point did the Shopping Guide disclose that he was an

        employee of third-party marketing company Royal Media which was

        hired by Royal Caribbean to direct and drive cruise passengers to

        Diamonds International retail stores to buy grossly overpriced jewelry

        that resulted in lucrative kickbacks in the form of generous bonuses and

        commissions for the employees.

           (b) The Shopping Guide fraudulently misrepresented to Jeanette and

        Kenneth, as well as other cruise passengers, that the prices of Crown of

        Light diamonds were significantly cheaper – in many instances fifty

        percent (50%) cheaper – in the Caribbean than in the United States

        because:

                i.   Customers     were    able   to   purchase    Diamonds

           International jewelry “duty free”; thus, they did not pay local and

           national taxes if they planned to take the jewelry out of the

           country where it is purchased; and

               ii.   Diamonds International is a vertically integrated

           company that buys diamonds from its parent company – Almod

           Diamonds, Ltd. – one of approximately eighty (80) companies that

           have “sightholder” status with De Beers Group which allows

           Almod Diamonds to make bulk purchases of rough diamonds that,

           under normal circumstances, reduced the cost to acquire,

           manufacture, distribute, and retail sale the diamonds. Yet,




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           Diamonds International’s Crown of Light collection defies reason

           because the diamonds are significantly more expensive than

           diamonds of comparable carat, clarity, and color.

              (c)    The Shopping Guide fraudulently misrepresented to

        Jeanette and Kenneth, as well as the other cruise passengers, that the

        Crown of Light cut disperses more light than a round cut diamond; and,

        therefore, is more brilliant and sparkles more. In fact, the Shopping

        Guide even passed around a Crown of Light diamond for attendees –

        who did not realize that the room’s lighting had been contrived and

        manipulated – to get an up-close glimpse of the diamond’s artificially

        enhanced brilliance. Not only did the Shopping Guide use this contrived

        and manipulated lighting at the breakout session, the Diamonds

        International retail store also used similarly contrived and manipulated

        lighting to artificially enhance the Crown of Light diamond’s brilliance

        for customers making in-store purchases. At one point, Jeanette

        complained that she was unable to visually appreciate a particular

        diamond’s brilliance so she was instructed to look at the diamond under

        different lighting – specifically, sunlight in this instance.

              (d)    The Shopping Guide fraudulently misrepresented to

        Jeanette and Kenneth, as well as the other cruise passengers, that a

        Crown of Light diamond was significantly more valuable than a round

        brilliant diamond of similar carat, clarity, and color. Indeed, the




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        Shopping Guide confidently represented that an independent appraisal

        of the Crown of Light diamond would prove the diamond’s superior

        quality and value, and, in fact, encouraged customers to have their

        jewelry independently appraised for assurance and peace of mind upon

        their return back home to the United States. In addition, the Shopping

        Guide fraudulently misrepresented to Jeanette and Kenneth, as well as

        the other cruise passengers, that their Crown of Light diamond

        purchases were great investments because the jewelry would appreciate

        over time, resulting in an increased resell value. That statement belies

        the truth because the Crown of Light diamond is consistently significantly

        devalued when independently appraised and compared to a round

        brilliant diamond of similar carat, clarity, and color. More importantly,

        a resell market for Crown of Light diamonds does not exist because

        Diamonds International is the exclusive retailer of the collection; thus,

        customers are left feeling cheated, shafted, and swindled.

              (e)    The Shopping Guide’s statement that the “branded,

        patented, and proprietary” Crown of Light diamond is exclusively sold

        at Diamonds International is misleading because it gives a false

        impression – to reasonable buyers like Jeanette and Kenneth – that

        Diamonds International invented the Crown of Light diamond’s unique

        ninety-eight (98) facets, when, in reality, the diamond cut was invented

        by Stuart Samuels and assigned to his company, Premier Gem Corp.




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         Neither Stuart Samuels nor Premier Gem Corp. has an affiliation with

         Almod Diamonds or Diamonds International. Thus, Diamonds

         International does not have any intellectual property or ownership

         interests in patent of the gemstone cut that is the Crown of Light

         diamond.

               (f)    The Shopping Guide fraudulently misrepresented – both at

         the seminars and on the “Port Shopping Guide Caribbean” app – that

         the “shopping experts invite only the top stores in each destination to be

         part of the Port Shopping program and guarantee any purchases made

         at stores listed on the official Port Shopping map.” Moreover, the

         Shopping Guide falsely guaranteed an elevated level of service and

         generous offers and giveaways in the form of VIP Cards and Treasure

         Packs, respectively, for the sole purpose of directing and driving cruise

         passengers to Royal Caribbean and Royal Media’s merchant partners –

         in this instance, Diamonds International.

         49.   Jeanette and Kenneth relied on the Shopping Guide’s fraudulent

   misrepresentations regarding the quality and value of the Crown of Light diamond

   throughout their shopping experience. In fact, Jeanette and Kenneth were forced to

   rely on the fraudulent misrepresentations because they could not independently

   verify the Shopping Guide’s claims, which were echoed by other agents, employees,

   and/or representatives of Diamonds International, by doing their own research since




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   they lacked access to the internet nor could they use their mobile device as a personal

   hotspot.

         50.    The Defendants intentionally made fraudulent misrepresentations to

   Jeanette and Kenneth because they knew the couple would rely on those fraudulent

   misrepresentations out of a false sense of trust and confidence in Royal Caribbean

   and Royal Media’s endorsement of the companies’ merchant partner Diamonds

   International’s brand and products. Jeanette and Kenneth would have been more

   critical and discerning of the fraudulent misrepresentations had the couple known of

   the financial relationship that incentivized the companies’ endorsement.

         51.    In a June 2006 Europa Star interview, Wendy Tarapani, Diamonds

   International’s Executive Director, tacitly acknowledged Diamonds International,

   Royal Caribbean, and Royal Media’s symbiotic relationship and underscored the

   importance of the cruise industry to Diamonds International’s business model and

   strategy. There, Tarapani, referring to Diamonds International, said, “We are

   backed by all major cruise lines . . . [W]e are every major cruise line’s number

   one recommendation for diamonds, fine jewelry and watches [because] passengers

   have the confidence to purchase with DI as a US based customer knows that their

   cruise line stands behind Diamonds International.”6 The relationship operates as a

   loop. In fact, at one point during Jeanette and Kenneth’s shopping experience, the




         6  Keith W. Strandberg, Executive Interview with Leading Retail Group Diamonds
   International, EUROPA STAR INT’1, June 2006, https://www.europastar.com/retail-
   world/1002764361-exclusive-interview-with-leading-retail-group.html (last visited Nov. 15,
   2022).


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   Shopping Guide commented on the “deals” that he had been given from Diamonds

   International’s employees for steering cruise passengers to the diamond retailer.

         52.      After the “breakout session,” Jeanette and Kenneth returned to their

   stateroom with two discount certificates – a certificate for one thousand dollars

   ($1,000) towards the purchase of an item from the Crown of Light collection, the other

   for seventy-five percent (75%) off.

         53.      Anxious and excited about the shopping experience that laid ahead, and

   their Crown of Light diamond purchases, Jeanette and Kenneth, with their two

   discount certificates in hand, were among the first passengers off the ship the next

   morning.

               B. Jeanette and Kenneth’s Diamonds International Retail Store Experience

         54.      When Jeanette and Kenneth arrived at Diamonds International’s St.

   Maarten store (Store No. 509), they were greeted by a sales associate named Zubin

   who previewed the Crown of Light collection for the couple as they waited for Senior

   Store Manager Anil Vaswani (“Vaswani”) to take over – at which point they presented

   Vaswani with their two discount certificates. Immediately, Vaswani was aggressive,

   dishonest, disingenuous, and insincere. Vaswani snatched Jeanette and Kenneth’s

   discount certificates then assured the couple that they did not need the discounts

   because he would give the couple the “best deal” (without any tangible proof) for the

   jewelry’s quality, present value, and resell value. This was not Vaswani’s first time

   at the rodeo. Instead of giving the couple the “best deal,” he treated them as a one-off

   sales transaction because he knew, and certainly ensured, he would never see the




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   couple again. The reason for his treatment is clear: Diamonds International, as

   Wendy Tarapani tacitly admitted, partnered with Royal Caribbean and Royal Media

   to direct and drive cruise passengers to the diamond retailer – ensuring a constant

   stream of revenue despite the diamond retailer’s low-quality goods and poor customer

   service.

         55.    Initially, the couple had two goals: (1) upgrade Jeanette’s De Luce

   Collection Marquise diamond ring; and (2) buy her a new tennis bracelet. Jeanette

   initially intended to pay for both items with her Diamonds International credit card.

   After learning the total monthly payment for both items, Jeanette expressed concern

   that limit on her credit card would not cover that monthly payment. This provided

   Vaswani, who had already devised his scheme, with an opening. He, then, made a

   call to Diamonds International’s financing department to see if Jeanette was eligible

   for a credit limit increase. Because of Jeanette’s unblemished credit, Diamonds

   International willingly increased Jeanette’s credit limit from five thousand dollars

   ($5,000) to one hundred thousand dollars ($100,000). Armed with this information,

   Vaswani, then, proceeded to make numerous fraudulent misrepresentations,

   blatantly manipulate and scheme, and apply relentless pressure – ultimately,

   convincing the couple to spend that credit limit increase on grossly overpriced jewelry

   that the couple would not have otherwise purchased had it not been for Vaswani’s

   actions. In sum, instead of leaving the store with the upgrade and tennis bracelet,

   Jeanette and Kenneth left with: (1) a Hublot diamond watch (the “Hublot”); (2) a

   diamond pendant necklace; (3) a diamond tennis bracelet; (4) the Blue Sapphire ring




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   upgrade (the “Blue Sapphire”); (5) a Philip Stein watch and sleep bracelet set (the

   “Philip Stein”); and (6) two diamond crucifix necklaces – one black diamond, one blue

   diamond.

             56.   Vaswani parroted the same fraudulent misrepresentations as the

   Shopping Guide as the latter greased Jeanette and Kenneth for Vaswani’s relentless

   pressure. Not only did Vaswani double-down on the Shopping Guide’s fraudulent

   misrepresentations, he went even further. Vaswani falsely promised that Jeanette

   and Kenneth would receive several complimentary gifts with the purchase of the

   Hublot, diamond pendant, and diamond crucifix necklace. Vaswani blatantly lied that

   Jeanette’s Blue Sapphire was an upgrade to her De Luce Collection Marquise

   diamond ring (“Marquise”); and Vaswani fraudulently misrepresented that the Blue

   Sapphire ring contained both sapphires and diamonds when it does not contain the

   latter.

             A.    Complimentary Gifts

             57.   Vaswani, in his manipulative effort to upsell, lied when he told Jeanette

   and Kenneth that they would receive several complimentary gifts if the couple

   purchased certain items. For instance, Vaswani induced Jeanette into buying the

   Hublot by promising the couple the complimentary Philip Stein for Kenneth. In

   addition, Vaswani promised Jeanette a complimentary 14K white gold adjustable

   sparkle chain if she purchased a diamond solitaire to refashion into a diamond

   pendant necklace. Lastly, he promised Kenneth a complimentary sterling silver chain

   necklace if Kenneth bought the black diamond crucifix necklace.




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         58.    Vaswani never intended to give Jeanette and Kenneth these items as

   complimentary gifts. Merriam-Webster’s Dictionary defines “gift” as “something

   voluntarily transferred by one person to another without compensation.”7 Neither the

   Philip Stein watch, 14K gold adjustable sparkle chain, nor the sterling silver chain

   necklace were gifts because, according to the sales receipt, Jeanette and Kenneth paid

   for each of these items. It was a ruse to upsell the couple into buying nearly forty

   thousand dollars ($40,000) worth of jewelry that they would not have otherwise

   purchased had they not relied on Vaswani’s lie that jewelry was indeed free.

         B.     Blue Sapphire Ring “Upgrade”

         59.    Jeanette and Kenneth’s priority was to upgrade Jeanette’s De Luce

   Collection Marquise diamond ring (the “Marquise”) the couple bought for five

   thousand five hundred dollars ($5,500) around July 2017. Jeanette explicitly told

   Vaswani that the upgrade should cost more than her Marquise. Moreover, the

   “Diamonds/Jewelry Upgrade” section of the “Terms and Conditions” (“Terms and

   Conditions”) on the back of the sales receipt reads, “New purchase price must be at

   least twice the amount of the original unset diamond purchase and/or jewelry

   purchase.” Per both Jeanette’s expectations and the Terms and Conditions, the

   upgraded ring – the Blue Sapphire – should have cost at least eleven thousand dollars

   ($11,000). Yet, the Blue Sapphire did not. Both the sales receipt and Statement

   demonstrably prove that the Blue Sapphire’s cost, and value, was four thousand six



         7   Definition of gift, Merriam-Webster’s Dictionary,      https://www.merriam-
   webster.com/dictionary/gift (last visited Nov. 15, 2022).



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   hundred dollars ($4,600) – considerably less than the required price by the Terms

   and Conditions.

         60.     Jeanette asked Vaswani about the Blue Sapphire’s cost when he first

   showed her the ring. But he lied about the Blue Sapphire’s cost when he said, without

   even knowing the Marquise’s cost, that the Blue Sapphire was more expensive than

   the Marquise because it contained both blue sapphires and Crown of Light diamonds

   set in a 14K white gold band. Neither the Blue Sapphire’s Statement nor the sales

   receipt support Vaswani’s statement. When Jeanette learned of Blue Sapphire’s

   actual four thousand six hundred dollar ($4,600) price, Vaswani – lacking any

   demonstrative proof – repeated his lie and explained that the lower price was the

   difference of the Blue Sapphire price minus the Marquise ring’s “Trade-In Amount.”

   For Vaswani’s statement to be true then the Blue Sapphire’s price, as recorded on

   both the sales receipt and Statement, should have been at least five thousand five

   hundred dollars ($5500) for it to satisfy the Terms and Conditions provision. Yet,

   neither the sales receipt nor Statement reflect that price; thus, as a result, the

   upgrade failed to meet Jeanette’s expectations and breached the Terms and

   Conditions provision.

               C. Independent Appraisal

         61.     Almost immediately upon returning home, Jeanette and Kenneth were

   suspicious of the jewelry’s quality and value for several reasons. First, Vaswani never

   mentioned t the actual price of each piece of jewelry nor did each piece come with a

   price tag. Rather, to induce the couple into making unnecessary purchases, Vaswani




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   mentioned the more palatable monthly financing price to distract from the “sticker

   shock” that would rightly accompany an inflated price. Second, Vaswani refused to

   honor the couple’s discounts that would have significantly lowered the purchase price

   and reduced Vaswani’s commission from the sale. Third, Diamonds International,

   with the help of its partner, Royal Media, lured Jeanette and Kenneth to the store

   with the promise of attractive discounts (that were never going to be honored) only

   for the Diamonds International’s employees to apply intense pressure tactics, which

   included refusing to allow the couple to leave, until the couple purchased grossly

   overpriced jewelry as a result of the deception, lies, and unsubstantiated claims

   regarding the Crown of Light diamond’s quality and value.

          62.    Jeanette and Kenneth – feeling bamboozled, deceived, and defrauded –

   contacted Diamonds International to express their displeasure, request pertinent

   documents related to their purchases, such as the warranties, gem reports, and

   Statements of Value,8 and for a list of Diamonds International authorized appraisers

   who could verify the Statements’ accuracy.

          63.    Initially, Jeanette and Kenneth consulted a Diamonds International

   authorized appraiser who, while refusing to take the couple’s money, candidly told

   the couple that authorized appraisers are limited to valuations provided to them by

   Diamonds International through outdated pricing lists that are not amended to


          8According to Vaswani, he allegedly discounted the jewelry – more substantially than
   Jeanette and Kenneth’s discount certificates – to give them a better “deal” for their
   purchases. Thus, the Statement of Value cannot reasonably reflect the jewelry’s actual value
   if the purchase price reflected on the Statement takes into account the “deal” offered by
   Vaswani



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   reflect trends in the diamond market.9 The appraiser explained that authorized

   appraisers essentially regurgitate Diamonds International’s valuations because the

   company sets the pricing without providing any clarity and/or insight into the

   company’s methodology. Moreover, the authorized appraiser said they were

   proprietary pieces; therefore, Diamonds International sets the price so the diamonds

   are appraised for their purchase price. Most importantly, the appraiser, even more

   candidly, said neither the jewelry’s quality nor value were worth the price paid by the

   couple in December 2019.

         64.    Thereafter, Jeanette and Kenneth sought a truly independent appraisal

   without much initial success because nearly every jeweler refused to appraise Crown

   of Light diamonds because the jewelry does not have any resell value since Diamonds

   International is the exclusive repairer and servicer of Crown of Light diamonds. This

   was a direct repudiation and contradiction of Vaswani’s false statement assessing the

   investment and resell value of grossly overpriced Crown of Light diamonds.10

   Vaswani knew that his statement regarding the jewelry’s resell value was false

   because Diamonds International is the exclusive retailer for Crown of Light diamonds

   – a point the Company repeatedly emphasizes.




         9 According to a Diamonds International promotional video, the Company “formulated
   a beautiful package for appraisers, which all appraisers should know about.” The “Crown of
   Light Appraisers Booklet Version 3.0” contains weight estimations, the methodology, and an
   understanding of the pricing on the different stones.

         10   Subsequent research revealed that Crown of Light jewelry is the subject of
   widespread criticism because of the quality of the stones, inflated pricing, poor customer
   service, dishonesty, and, at times, employee theft of customers’ jewelry.


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         65.    Vaswani’s statements were egregiously false – not mere sales puffery.

   He fraudulently misrepresented the quality, value, and resell value of the jewelry in

   order to induce Jeanette and Kenneth into purchasing grossly overpriced jewelry.

         66.    Jeanette and Kenneth were eventually successful in getting a truly

   independent appraisal from a graduate gemologist that is knowledgeable and trained

   in the more stringent Gemological Institute of America (“GIA”) standards. The

   gemologist’s valuation of the Crown of Light jewelry was significantly lower than

   Diamonds International’s valuation and, ultimately, the price paid by the couple.

         67.    Not only was the jewelry’s value inflated, its quality, too, was

   overstated. According to the graduate gemologist’s independent appraisal, Diamonds

   International’s Statements of Value misrepresent the jewelry’s carat, clarity, and

   color, which directly affect its quality and value. For example, the diamond bracelet’s

   Statement misrepresents the diamonds’ color, and the diamond pendant’s Statement

   significantly misrepresents its clarity.

         68.    The graduate gemologist’s appraisal also revealed that the Statements

   of Value misrepresent the total carat weight (“ct”) of both the Hublot and diamond

   pendant. The Hublot’s Statement misrepresents that the total carat weight is 2.89 ct

   when the accurate total carat weight is 2.00 ct; and the diamond pendant’s Statement

   misrepresents that the total carat weight is 2.03 ct when it is appraised at 1.77 ct.

   That is a difference of 1.15 ct. Meaning, Jeanette and Kenneth paid for more total

   carat weight than the couple actually received. The gemologist’s appraisal proves that

   Jeanette and Kenneth grossly overpaid based on the diamonds’ carat, clarity, and




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   color. These deceptive practices and fraudulent misrepresentations resulted in a

   tremendous loss for Jeanette and Kenneth.

         69.    The Blue Sapphire’s independent appraisal left Jeanette and Kenneth

   angry, disappointed, frustrated, and surprised. First, not only was the ring not an

   upgrade because its appraisal value is only two thousand six hundred dollars ($2,600)

   – meaning the couple paid two thousand dollars ($2,000) more for the ring that it is

   actually worth. The most damning revelation is that the Blue Sapphire does not

   contain Crown of Light diamonds as falsely stated in the “Item Description” section

   of the ring’s Statement. Instead, it contains only white sapphires. Such a discrepancy

   demonstrates that the Statement does not accurately reflect the Blue Sapphire’s

   actual value because it factors the inclusion of Crown of Light diamonds in its

   valuation.

         70.    The difference between the jewelry’s actual value and price paid by

   Jeanette and Kenneth is so significant that it amounts to a material

   misrepresentation of fact – not mere sales puffery. Moreover, Jeanette and Kenneth

   believed the fraudulent misrepresentation that the jewelry was a great investment

   because the couple lacked the same information and same sophistication vis-à-vis

   Diamonds International.

         71.    Jeanette and Kenneth relied on the fraudulent misrepresentations as

   statements of fact concerning the quality and value of the jewelry because the couple was

   led to believe that the Shopping Guide was a resident jewelry expert on board the cruise

   ship as a benefit and service to help the couple navigate the local shopping landscape.




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   Jeanette and Kenneth did not expect the Shopping Guide to act as a salesperson – paid

   spokesperson and proxy – for Diamonds International.

         72.    When Jeanette and Kenneth contacted Diamonds International to

   express their concerns, the retailer made the couple, figuratively, jump through

   endless hoops to resolve the couple’s dispute only to eventually refuse to refund

   Jeanette and Kenneth’s money. The only resolution offered to Jeanette and Kenneth

   was to return their jewelry for a Diamonds International store credit. Jeanette and

   Kenneth declined the offer because the couple did not want to return their grossly

   overpriced, inferior quality Diamonds International jewelry for a store credit to

   purchase different grossly overpriced, inferior quality Diamonds International

   jewelry.

                                     CAUSES OF ACTION

         COUNT I: Rescission of Sales Contract (Diamonds International)

         73.    Plaintiffs reallege and incorporate by this reference the factual

   allegations in the preceding paragraphs of this Complaint.

         74.    The Plaintiffs’ agreement to pay nearly $120,000 for jewelry from

   Diamonds International during their Royal Caribbean cruise was induced by

   fraudulent material misrepresentations by Diamonds International and/or third

   parties on Diamonds International’s behalf.

         75.    The     Plaintiffs    justifiably   relied   on   fraudulent   material

   misrepresentations by Diamonds International and/or third-parties on Diamonds




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   International’s behalf when they agreed to pay nearly $120,000 for jewelry from

   Diamonds International during their Royal Caribbean cruise.

         76.    The Plaintiffs notified the Diamonds International that they wished to

   rescind their agreement to purchase the jewelry within a reasonable time of learning

   that the Defendants’ fraudulent material representations about the jewelry they

   purchased were indeed false.

         77.    The Plaintiffs are entitled to rescission of their purchases from

   Diamonds International and request that this Court order Diamonds International

   to accept a full return of the jewelry the Plaintiffs purchased, returning the purchase

   price received from the Plaintiffs and nullifying outstanding debts owed by the

   Plaintiffs to Diamonds International and Diamonds International’s finance partners,

   Comenity Bank and Synchrony.


                    COUNT II: Breach of Warranty (All Defendants)


         78.    Plaintiffs reallege and incorporate by this reference the factual

   allegations in the preceding paragraphs of this Complaint.

         79.    At the time of the Plaintiffs’ purchase of the jewelry at issue, the

   Defendants were engaged in the business of selling diamonds to retail customers,

   either directly, or by partnering with third-parties to surreptitiously market

   Diamonds International and its jewelry as seemingly independent experts and

   consumer advocates in return for monetary compensation from Diamonds

   International.




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         80.    Defendants made various statements of fact and “guarantees” regarding

   the jewelry the Plaintiffs agreed to purchase, as detailed above.

         81.    The Defendants warranted to the Plaintiffs that the jewelry would

   appraise for at least the sales price. The Defendants did not disclose or explain that

   they would only honor the warranty if the methodology of the appraisal was to

   appraise the jewelry for its sales price. As such, the Plaintiffs reasonably understood

   the Defendants’ warranty at the time of same as warranting that the jewelry would

   be worth the sales price. A reasonable customer would not expect the qualification

   the Defendants attempted to make after the fact because it would make the warranty

   entirely illusory and meaningless.

         82.    The jewelry was not worth anywhere close to the sales price the

   Plaintiffs paid Diamonds International, and did not appraise for anywhere close to

   the sales price that the Plaintiffs paid Diamonds International. As a result, the

   Plaintiffs suffered damages.

         83.    Wherefore, the Plaintiffs demand that judgment be entered against the

   Defendants for an award of compensatory damages, costs, and pre- and post-

   judgment interest. Alternatively, Plaintiffs demands rescission of their purchases

   with Diamonds International.


            COUNT III: Breach of Implied Warranty of Merchantability

                               (Diamonds International)

         84.    Plaintiffs reallege and incorporate by this reference the factual

   allegations in the preceding paragraphs of this Complaint.



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           85.   Diamonds International’s sale of the diamond pendant, diamond

   bracelet, and upgraded Marquise ring, among other things, to the Plaintiffs implied,

   as a matter of law, that those items were merchantable and fit for its ordinary

   purpose – wearing as jewelry.

           86.   The ordinary purpose of the jewelry purchased by the Plaintiffs was to

   be worn regularly as jewelry. As such, this implied a warranty of fitness for specific

   purpose that the jewelry was appropriate to wear regularly.

           87.   As a result of Diamonds International’s breach of warranty, Plaintiffs

   suffered damages.

           88.   Wherefore, Plaintiffs demand rescission of their purchases with

   Diamonds International. Alternatively, Plaintiffs demand entry of the judgment

   against Diamonds International for an award of compensatory, costs, and pre- and

   post-judgment interest.

                 COUNT IV: Breach of Applicable Consumer Protection Acts
                                    (All Defendants)

           89.   Plaintiffs reallege and incorporate by this reference the factual

   allegations in the preceding paragraphs of this Complaint.

           90.   The conduct of the Defendants – all US-based companies – in the scheme

   outlined in this Complaint was directed primarily towards U.S. citizens like the

   Plaintiffs, with the knowledge, direction, and active participation of the Defendants’

   U.S. offices, including Diamonds International and Almod Diamonds’ offices in New

   York.




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         91.    For the purpose of this action, these statutory claims do not require a

   choice of law analysis because there is no material conflict of law.

         92.    The Defendants’ scheme is only successful because cruise ship

   passengers, primarily U.S. citizens, rely on the Defendants promotion of themselves

   as United States-based companies who provide U.S.-based customer service.

         93.    The Defendants’ conduct is subject to and actionable as unfair and

   deceptive trade practices under N.Y. CLS Gen. Bus. § 349. Alternatively, the

   Defendants conduct, described above, is subject to and actionable as unfair and

   deceptive trade practices act statutes of each of the 50 states and Puerto Rico.

         94.     Defendants conduct was unfair and deceptive in violation of the U.S.

   Uniform Deceptive Trade Practices Act (“UDTPA”), including for the following

   reasons:

         a.     Royal Media Shopping Guides acting on behalf of the Defendants

         misrepresented to the Plaintiffs and other cruise passengers that they

         were experts in jewelry buying, and could be trusted because they were

         providing a service for the benefit of Royal Caribbean passengers. These

         misrepresentations were unfair and deceptive because Royal Media’s

         Shopping Guides were not experts and were not providing disinterested

         information to the Plaintiff or acting as the Plaintiffs’ advocate, but

         rather, their only goal was to drive sales to Diamonds International for

         commissions.




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        b.    Royal Media Shopping Guides acting on behalf of the Defendants

        misrepresented the nature of Royal Media’s relationship with Diamonds

        International, claiming to passengers, including the Plaintiffs, that

        Royal Media had “vetted” and had independently determined that

        Diamonds International provided great value pricing on jewelry, when

        Royal Media was being paid to direct cruise passengers to Diamonds

        International retail store, despite being aware that Diamonds

        International actually sells inferior jewelry for massively inflated prices,

        and a large number of customers complain about this to Diamonds

        International, Royal Caribbean, and Royal Media after returning from

        vacation.

        c.    Royal Media Shopping Guides acting on behalf of the Defendants

        and/or Diamonds International salespeople misrepresented that

        Diamonds International’s prices for diamonds were significantly

        cheaper than similar diamonds available in the United States due to

        duty-free and tax laws and because Diamonds International’s price was

        based on the significantly reduced-price Diamonds International and

        Almod Diamonds pay for raw diamonds as a DeBeers sightholder;

        d.    Royal Media Shopping Guides acting on behalf of the Defendants

        and/or Diamonds International salespeople misrepresented that

        Diamonds International’s prices for diamonds and jewelry were so low

        relatively to the value of the jewelry, due to U.S. tax laws and Diamonds




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        International and Almod Diamond’s sightholder status with DeBeers,

        that purchasing jewelry from Diamonds International was “investment

        quality” or a good investment.

        e.    This was not merely sales puffery because Defendants knew that

        buying jewelry from Diamonds International could not be considered a

        “good investment” by any stretch of the imagination because the jewelry

        would not appreciate in value and could never be resold by the Plaintiffs

        for anywhere near the purchase price. The Diamonds International

        salesperson specifically misled the Plaintiffs about the amount

        Diamonds International had paid for the diamond ring.

        f.    Royal Media Shopping Guides acting on behalf of the Defendants

        and Diamonds International salespeople misrepresented that Diamonds

        International’s jewelry is guaranteed to appraise for its sales price

        because it is such a good value. In reality, Diamonds International’s

        jewelry is grossly overpriced and will only appraise for the price if an

        absurd and tautological appraisal method is employed, whereby the

        value is determined entirely based on the price Diamonds International

        decides to charge. Royal Media Shopping Guides and Diamonds

        International salespeople’s misrepresentations were misleading and

        deceptive because the statements are reasonably understood by

        customers,   including    the    Plaintiffs,   to   mean   that   Diamonds

        International’s jewelry is being sold for a price at or below the jewelry’s




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        objective market value (as would be determined by an independent

        appraiser), as opposed to a meaningless and tautological guarantee that

        the jewelry will appraise for the sales price if the appraisal is based on

        the sales price.

        g.    Royal Media Shopping Guides acting on behalf of the Defendants

        and Diamonds International salespeople misrepresented that Crown of

        Light diamonds disperse more light and sparkle more than round

        brilliant diamonds, and are worth more than similar round brilliant

        diamonds, when in reality, the Crown of Light cut is inferior and less

        valuable than the round brilliant diamond and there is no real market

        for Crown of Light diamonds outside of the Defendants’ scheme, as

        detailed above.

        h.    Diamonds International sold a GHI-certified 1.77 ct diamond

        pendant necklace to the Plaintiffs for thirty-eight thousand dollars

        ($38,000). A comparison of a similar 3.10 ct diamond pendant necklace

        certified by the more reputable GIA and sold at Tiffany’s & Co., one of

        the world’s most luxurious diamond jewelry retailers – sells for thirteen

        thousand dollars ($13,000). Diamonds International’s sale of a more

        expensive diamond pendant with less brilliance, less total carat weight,

        and certified by the less reputable GHI is an unethical, unfair, and

        deceptive trade practice because the unsophisticated consumer does not

        appreciate the significant difference between “GIA” and “GHI,” and does




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         not understand that a GHI-certified diamond is considered inferior with

         less resell value for the sale price that would otherwise be expected for

         the diamond based on its 4Cs.

         95.    Diamonds International sold the Plaintiffs jewelry and extended

   consumer credit in violation of New York City Admin. Code § 20-700(a), including

   because the jewelry was represented to be of a higher quality than it was, Defendants

   misrepresented and/or failed to disclose material facts about the jewelry, Defendants

   made false statements about the price it charges for its jewelry in comparison to the

   U.S. market, as well as the reasons for supposed cheaper prices than are generally

   available in the U.S. market.

         96.    Diamonds International sold the Plaintiffs jewelry and extended

   consumer credit in violation of New York City Admin. Code § 20-700(b), including

   because the Royal Media Shopping Guides acting on behalf of Defendants and the

   Diamonds International salespeople took advantage of the Plaintiffs’ lack of

   knowledge and experience with respect to buying diamond jewelry, and as a result,

   massively over charged the Plaintiffs nearly one hundred twenty thousand dollars

   ($120,000) for the jewelry items detailed above. Those transactions were

   unconscionable because there was a gross disparity between the price the Plaintiffs

   paid and the value of the jewelry, as measured by the price at which similar jewelry

   can be obtained.

         97.    The Plaintiffs suffered damages as a result of the Defendants’ unfair

   and deceptive practiced detailed above.




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         98.    Plaintiffs demands entry of judgment against Defendants for an award

   of compensatory damages, treble damages, reasonable attorneys’ fees, costs, and pre-

   and post-judgment interest.

                          COUNT V: Fraud (All Defendants)

         99.    Plaintiffs reallege and incorporate by this reference the factual

   allegations in the preceding paragraphs of this Complaint.

         100.   Defendants engaged in a uniform course of conduct that misrepresented

   the nature of their relationship and the value and material characteristics of the

   jewelry the Plaintiffs purchased from Diamonds International, including in the

   following ways:

                a.    Royal Media Shopping Guides acting on behalf of the

         Defendants misrepresented to the Plaintiffs and other cruise passengers

         that they were “experts” in jewelry purchases and could be trusted

         because they were providing a service for the benefit of Royal Caribbean

         passengers. These representations were false because the Royal Media

         Shopping Guides were not experts and did not provide disinterested

         information to the Plaintiff, but rather, their only goal was to drive sales

         to Diamonds International for bonuses, commissions, and other

         compensation. These misrepresentations were material because the

         Plaintiffs relied on the Royal Media Shopping Guides purported

         expertise and apparent independent recommendations when trusting




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        the other claims of Royal Media Shopping Guides and Diamonds

        International salespeople about Diamonds International’s jewelry.

              b.     Royal Media Shopping Guides acting on behalf of the

        Defendants misrepresented and fraudulently concealed the nature of

        Royal Media’s relationship with Diamonds International, by claiming to

        passengers, including the Plaintiffs, that Royal Media had “vetted” and

        had independently determined that Diamonds International provided

        great value pricing on jewelry, and in failing to disclose that Royal

        Media was being paid by Diamonds International to direct cruise

        passengers to Diamonds International retail stores.

              c.     Royal Media Shopping Guides acting on behalf of the

        Defendants fraudulently concealed from the Plaintiffs that Diamonds

        International is known to sell inferior jewelry for massively inflated

        prices, and a large number of customers complain about this to

        Diamonds International, Royal Caribbean, and Royal Media after

        returning from vacation. Royal Media Shopping Guides had a duty to

        disclose this information to the Plaintiffs due to the circumstances

        because they held themselves out as independent experts that vetted

        Diamonds International, and claimed that prior cruise passengers’

        jewelry had appraised for multiples of the purchase price.

              d.     Royal Media Shopping Guides acting on behalf of the

        Defendants     and    the    Diamonds      International     salespeople




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        misrepresented that Diamonds International’s prices for diamond

        jewelry were significantly cheaper than similar diamond jewelry

        available in the United States due to tax laws and because Diamonds

        International’s price was based on the significantly reduced-price

        Diamonds International and Almod Diamonds pay for raw diamonds as

        a DeBeers sightholder;

              e.     Royal Media Shopping Guides acting on behalf of the

        Defendants     and     the    Diamonds       International     salespeople

        misrepresented that Diamonds International’s prices for diamonds and

        jewelry were so low relatively to the value of the jewelry, due to U.S. tax

        laws and Diamonds International’s sightholder status with DeBeers,

        that purchasing jewelry from Diamonds International was “investment

        quality” or a good investment.

              f.     This was false and cannot be considered sales puffery

        because Defendants knew that buying Diamonds International jewelry

        could not be considered an investment by any stretch of the imagination

        because the jewelry would not appreciate in value and could never be

        resold by the Plaintiffs for anywhere near the purchase price.

              g.     Royal Media Shopping Guides acting on behalf of the

        Defendants     and     the    Diamonds       International     salespeople

        misrepresented that Diamonds International’s jewelry is guaranteed to

        appraise for its sales price because it is such a good value. In reality,




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        Diamonds International’s jewelry is grossly overpriced and will only

        appraise for the sales price if an absurd and tautological appraisal

        method is employed, whereby the value is determined entirely based on

        the price Diamonds International decides to charge. Royal Media

        Shopping     Guides    and     Diamonds      International    salespeople’s

        representations were designed to materially mislead the Plaintiffs

        because the statements are reasonably understood by customers,

        including the Plaintiffs, to mean that Diamonds International’s jewelry

        is being sold for a price at or below the jewelry’s objective market value

        (as would be determined by an independent appraiser), as opposed to a

        meaningless and tautological guarantee that the jewelry will appraise

        for the sales price if the appraisal is based on the sales price.

              h.     Royal Media Shopping Guides acting on behalf of the

        Defendants      and     the    Diamonds       International     salespeople

        misrepresented that Crown of Light diamonds disperse more light and

        sparkle more than round brilliant diamonds, and are worth more than

        similar round brilliant diamonds, when in reality, the Crown of Light

        cut is inferior and less valuable than the round brilliant diamond and

        there is no real market for Crown of Light diamonds outside of the

        Defendants’ scheme as set forth in this Complaint.




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         101.    These misrepresentations were material to the Plaintiffs’ purchase of

   the jewelry, and had Defendants not made such misrepresentations, Plaintiffs would

   not have purchased the jewelry.

         102.    Defendants made these misrepresentations to the Plaintiffs in order to

   induce Plaintiffs into purchasing the jewelry from Diamonds International. These

   statements were designed to lull the Plaintiff and other cruise passengers into

   believing that Royal Media had independently vetted Diamonds International,

   discovered that Diamonds International was selling jewelry for well below market

   prices; therefore, cruise passengers, including the Plaintiffs, had a rare opportunity

   to purchase jewelry at such a reduced price that it would also serve as a good

   investment.

         103.    Royal Media assisted, aided, and abetted Diamonds International in

   perpetrating the fraud alleged in this count. Royal Media was necessary to the

   fraudulent scheme detailed above. If Diamonds International made these claims on

   its own, customers like the Plaintiffs, may have been more skeptical and less inclined

   to rely on them. The Plaintiffs believed the misrepresentations detailed herein

   because they were first communicated to them by an apparent independent “expert,”

   whose financial interest in driving sales of Diamonds International jewelry was

   concealed.

         104.    Plaintiffs purchased the jewelry detailed above because of the

   Defendants misrepresentations and omissions of material facts. Had the Plaintiffs

   known the truth about Diamonds International and the quality and value of the




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   jewelry detailed above, Plaintiffs would not have purchased the jewelry from

   Diamonds International.

         105.   Because of the Defendants misrepresentations, Plaintiffs suffered

   damages.

         106.   Plaintiffs demands entry of the judgment against Defendants for an

   award of compensatory damages, punitive damages, costs, and pre- and post-

   judgment interest.

                     Count VIII – Unjust Enrichment (All Defendants)

         107.   Plaintiffs reallege and incorporate by this reference the factual

   allegations in the preceding paragraphs of this Complaint.

         108.   As the intended and expected result of Defendants’ conscious

   wrongdoing as set forth in this Complaint, Defendants profited and benefitted from

   payments made to them by Plaintiffs, directly and/or through third parties to whom

   Plaintiffs remains indebted, for jewelry from Diamonds International.

         109.   Defendants voluntarily accepted and shared these payments with full

   knowledge and awareness that, as a result of their wrongdoing, Plaintiffs paid for

   jewelry when she otherwise would not have done so.

         110.   An inequity resulted to Plaintiffs because Defendants kept the benefit

   and were unjustly enriched.

         111.   Plaintiffs is entitled to seek restitution of Defendants’ wrongful profits,

   revenues and benefits to the extent, and in the amount, deemed appropriate by the

   Court and such other relief as the Court deems just and proper.




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                 Count IX – Declaratory Judgment (All Defendants)

         112.   Plaintiffs reallege and incorporate by this reference the factual

   allegations in the preceding paragraphs of this Complaint.

         113.   Pursuant to 28 U.S.C. § 2201, this Court has subject-matter jurisdiction

   to declare the rights and remedies of any interested party seeking such declaration,

   whether or not further relief is or could be sought.

         114.   A justiciable controversy exists between the Plaintiffs and Defendants

   that requires declaratory relief.

         115.   Due to Defendants’ misconduct, the Plaintiffs seek a declaration that

   the Plaintiffs does not owe Diamonds International any additional money in

   connection with the jewelry purchases detailed above.

         116.   The Plaintiffs have no adequate remedy at law which would accomplish

   the relief sought herein.

                         Count IX – Negligence (Royal Media)

         117.   Plaintiffs reallege and incorporate by this reference the factual

   allegations in the preceding paragraphs of this Complaint.

         118.   Defendant Royal Media ostensibly undertook to “vet” port city retailers

   on behalf of Royal Caribbean passengers to identify and recommend “great values”

   and to provide diamond and gemstone education to Royal Caribbean passengers from

   industry “experts.” By so doing, Royal Media had a duty to the Plaintiffs to do so in a

   manner that was not negligent.




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          119.   Royal Media breached its duty as to the Plaintiffs, including by (a)

   recommending Diamonds International as a “great value,” (b) leading the Plaintiffs

   to believe that other passengers had great experiences and had experienced windfalls

   by purchasing Diamonds International jewelry, when these Defendants knew or

   should have reasonably discovered that Diamonds International charges among the

   most unreasonable and highest prices for jewelry in the world and that many

   passengers who purchased jewelry from Diamonds International thereafter

   complained that they were cheated, scammed or tricked; (c) by allowing economically

   interested and non-expert salespeople hold themselves out as experts to provide

   diamond and gem education to passengers; (d) by failing to provide helpful

   information to passengers about how to avoid buying grossly overpriced diamond

   jewelry during seminars that were offered for this ostensible reason.

          120.   As a proximate and direct result of these Defendants negligence, the

   Plaintiff paid nearly two hundred thousand dollars ($120,000) for jewelry that was

   worth only a fraction of the sales price, and thereby suffered damages in an amount

   to be determined at trial.

                                   PRAYER FOR RELIEF

          WHEREFORE, the Plaintiffs demand judgment against Defendants in each

   claim for relief, jointly and severally, as follows:

          A.     Rescission of the jewelry purchases detailed above, with the Plaintiffs

   returning the jewelry to Diamonds International and Diamonds International

   returning the purchase price to the Plaintiffs and/or the third parties to whom




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